GUILTY PLEA FELONY INDICTMENT MINUTES

Time Set:           9:00 a.m.                              Date:                      7/18/2025
Started:                                                   Presiding Judge:           Robei1 J. Rrask, USMJ
Ended:                                                     Courtroom Deputy:          Brittney Titus
                                                           Reporter:                  FT^lViqqi
                                                           U.S. Attorney:             nebeaa
                                                           Defense Counsel:
                                                                                      leFfrgy Cwg rn/Lciwrence iNoodiNqfddr.
                                                                                      { X ) Retained
                                                                                      { ) Court appointed
                                                                                      {   )AFPD
                                                           Interpreter:
                                                           U.S. Probation Officer:


Case Number:        2:25cr3

USA V               Brad Kenneth Spafford                                             ( X ) in custody (    ) on bond


                                                                   to Countfs) 1^*2
                                                                                and enter a plea of guilty to said Counl(s).
$
           Defendant requested to withdraw plea of not guilty
           Consent to Proceed before a U.S. Magistrate Judge pursuant to Rule 1 I. executed and filed in open court.
cH)        Defendant sworn.

0()        Court fully advised defendant of rights, charges, and maximum penalties. Defendant acknowledged he/she understood.
(X)        Plea agreement reviewed, executed, and filed in open court.      ( ) No plea agreement.
(X)        Court inquired as to voluntariness of plea.
(X)        Court inquired as to threats or promises.
(X)        Court advised defendant that by pleading guilty the right to a trial by jury is waived.
X)         Plea of guilty entered.
           Defendant satisfied with services of counsel.

           Court inquired re: plea negotiations
(   )      Remaining count(s) to be dismissed at Sentencing.
           Statement of facts executed and Hied in open court.
           Continued for prc-sentence report.
(X)        Court explained to defendant that by pleading guilty right to appeal is waived pursuant to plea agreement,
●X)        Sentencing set:
               Norfolk
                           i:^i9.f26ciTq^oo
                           ( ') Newport News
                                                       before U.S. District Judge iillfla

(X)        Unsigned Sentencing Procedure Order provided to defendant.
(X)        Sentencing Procedure Order entered and filed in open court.
(X)        Report and Recommendation Concerning Plea of Guilty entered and Hied in open court.
(   )      Court   ( ) Hnds    ( ) withholds Hnding defendant guilty as charged in Count (s)
(   )      Defendant continued on bond.     ( ) See Additional conditions of release.
(   )      Bond set                                                                ( ) See conditions of Release
(X)        Defendant remanded to custody of U.S. Marshal.
(   )
(   )
(   )
